       Case 3:22-cv-00021 Document 1 Filed on 01/19/22 in TXSD Page 1 of 9



                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 GALVESTON DIVISION

JOHNIE BARTON AND WIFE,                         §
JANICE BARTON,                                  §
                                                §
                Plaintiffs,                     §
                                                §
v.                                              §            CIVIL ACTION NO.
                                                §            __________________
AMERICAN PETROLEUM TANKERS                      §
LLC, INTREPID SHIP MANAGEMENT,                  §
INC., AND INTREPID PERSONNEL &                  §
PROVISIONING, INC.,                             §
                                                §
                Defendants.                     §


                              PLAINTIFFS’ ORIGINAL COMPLAINT


To the Honorable United States District Court Judge Jeffrey V. Brown:

        COME NOW JOHNIE BARTON and JANICE BARTON, Plaintiffs herein, and

file their Original Complaint, complaining of and about AMERICAN PETROLEUM

TANKERS, LLC, INTREPID SHIP MANAGEMENT, INC. and INTREPID

PERSONNEL & PROVISIONING, INC., Defendants herein, and for cause of action

would show the following:

                                    I. Parties and Service

1.      Plaintiffs, JOHNIE BARTON and JANICE BARTON, are individuals residing in

Liberty County County, Texas.

2.      Defendant, AMERICAN PETROLEUM TANKERS, LLC, is a limited liability

company doing business in Texas. Notice of a Lawsuit and Request to Waive Service of

Summons will be forwarded to attorney Christopher L. Evans, Adams & Reese, Lyondell




Plaintiff’s Original Complaint                                                     1
       Case 3:22-cv-00021 Document 1 Filed on 01/19/22 in TXSD Page 2 of 9



Basell Tower, 1221 McKinney, Suite 4400, Houston, Texas, 77010, pursuant to Rule 4(d)(1)

of the Federal Rules of Procedure.

3.      Defendant, INTREPID SHIP MANAGEMENT, INC., is a foreign for-profit

corporation doing business in Texas. Notice of a Lawsuit and Request to Waive Service

of Summons will be forwarded to attorney Christopher L. Evans, Adams & Reese,

Lyondell Basell Tower, 1221 McKinney, Suite 4400, Houston, Texas, 77010, pursuant to

Rule 4(d)(1) of the Federal Rules of Procedure.

4.      Defendant, INTREPID PERSONNEL & PROVISIONING, INC., is a foreign for-

profit corporation doing business in Texas. Notice of a Lawsuit and Request to Waive

Service of Summons will be forwarded to attorney Christopher L. Evans, Adams & Reese,

Lyondell Basell Tower, 1221 McKinney, Suite 4400, Houston, Texas, 77010, pursuant to

Rule 4(d)(1) of the Federal Rules of Procedure.

                                 II. Statement of Jurisdiction

5.      Pursuant to U.S.C. § 1332, the Court has jurisdiction over the lawsuit because

Plaintiffs and Defendants are citizens of different U.S. states, and the amount in

controversy exceeds $75,000, excluding interest and costs of court.

                                          III. Venue

6.      Pursuant to 28 U.S.C. § 1391(b)(2), venue is proper in this district because a

substantial part of the events or omissions giving rise to this claim occurred in this

district.

                                   IV. Factual Background

7.      On or about September 7, 2021, Plaintiff, JOHNIE BARTON, was working on the

docks of the Houston Ship Channel, a body of navigable water, as a longshoreman for

Houston Mooring Company, Inc. While the Plaintiff was maneuvering to secure the tow




Plaintiff’s Original Complaint                                                        2
       Case 3:22-cv-00021 Document 1 Filed on 01/19/22 in TXSD Page 3 of 9



lines of a marine vessel to the dock, he was severely injured when he was, suddenly and

without warning, struck by a large mass of mud that fell from the anchor of the vessel.

8.      The marine vessel involved in the incident described above was the Evergreen

State. It is an oil/chemical tanker measuring 183 x 32.2 meters with a gross tonnage of

29,606. On the occasion in question, the MV Evergreen State was owned and/or operated

by the Defendants AMERICAN PETROLEUM TANKERS, LLC. and INTREPID SHIP

MANAGEMENT, INC. and the employer of the crew of the vessel was Defendant,

INTREPID PERSONNEL & PROVISIONING, INC.

9.      Defendant, American Petroleum Tankers, LLC is engaged in the domestic or Jones

Act marine transportation of crude oil, condensate, and refined products. The operating

state class tanker ship, MV Evergreen State, is owned by Defendant American Petroleum

Tankers, LLC.

10.     Defendant, Intrepid Ship Management, Inc., is engaged in operating vessels for

the marine transportation of freight.       Upon information and belief, Intrepid Ship

Management, Inc. was operating the MV Evergreen State for Defendant American

Petroleum Tankers, LLC on the date of the incident giving rise to this litigation.

11.     Defendant, Intrepid Ship Personnel & Provisioning, Inc., is engaged in providing

miscellaneous marine transportation services. Upon information and belief, Intrepid

Personnel & Provisioning was the employer of the crew of the MV Evergreen State on the

occasion in question.

12.     As a result of the incident on September 7, 2021, Plaintiff JOHNIE BARTON

sustained a spinal cord injury as well as spinous process fractures at C7 and T1, a burst

fracture at T-8, and a compression fracture at L-1. His injuries required surgery and he

underwent an anterior cervical discectomy and fusion from C3-C6 on September 8, 2021.

Mr. Barton is still receiving treatment for his injuries and is not able to work.


Plaintiff’s Original Complaint                                                            3
       Case 3:22-cv-00021 Document 1 Filed on 01/19/22 in TXSD Page 4 of 9



13.     The incident of September 7, 2021 was a direct and proximate result of the

negligence and/or gross negligence, and willful, knowing and/or wanton conduct

and/or fault of Defendants, AMERICAN PETROLEUM TANKERS, LLC, INTREPID

SHIP MANAGEMENT, INC. and INTREPID PERSONNEL & PROVISIONING, INC.,

and/or their agents, servants and/or employees for whom they are responsible.

14.     As a result of Defendants’ negligent acts and conduct, Plaintiffs have suffered

damages for which they now sue.

                                 V. Count 1 - Negligence

15.     Defendants, both individually and collectively, and acting by and through their

agents, servants and/or employees, acted negligently and with reckless disregard for the

safety of persons similarly situated as Plaintiff on the occasion in question. That is,

Defendants owed a duty to exercise the degree of care that a reasonably careful person

would use to prevent harm to others under circumstances similar to those described

herein. Defendants breached this duty, which proximately caused the injures to Plaintiffs

and their damages.

16.     In this connection, Plaintiffs will show that the Defendants, knew or by the exercise

of reasonable care should have known, that the anchor on the MV Evergreen State could

be mired with debris when it emerged from the water and, as such, any debris on the

anchor would create an unreasonably dangerous condition. Plaintiffs will further show

that the Defendants were negligent in one or more of the following particulars:

            a. In failing to properly supervise the operation of the anchor of the MV
               Evergreen State;

            b. In failing to maintain a proper lookout while the anchor of the MV
               Evergreen State was being operated;




Plaintiff’s Original Complaint                                                             4
       Case 3:22-cv-00021 Document 1 Filed on 01/19/22 in TXSD Page 5 of 9



            c. In failing to properly maintain the anchor of the MV Evergreen State;

            d. In failing to properly inspect the anchor of the MV Evergreen State for
               debris;

            e. In failing to clear the debris attached to the anchor of the MV Evergreen
               State;

            f. In failing to remove persons who were working in close proximity to the
               ship’s suspended anchor when Defendants knew, or should have known,
               that debris attached to the ship’s anchor had created a falling debris hazard;

            g. In failing to warn Plaintiff of the danger of falling debris attached to the
               ship’s anchor that was suspended over him; and,

            h. In failing to properly develop, implement, and maintain proper safety
               procedures and protocol for keeping the ship’s anchor free of debris.

17.     The injuries and damages sustained by Plaintiffs were proximately caused by the

negligent actions and conduct of the Defendants.

                                 VI. Count II – Gross Negligence

18.     Plaintiffs will show that Defendants’ acts or omissions, both individually and by

and through their agents, servants and/or employees, were such that when viewed

objectively from the standpoint of the actor at the time of the occurrence involved an

extreme degree of risk, considering the probability and magnitude of the potential harm

to others, of which the Defendants had actual, subjective awareness of the risk involved,

but nevertheless proceeded with conscious indifference to the rights, safety or welfare of

Plaintiffs, and others similarly situated, and/or with malice, which was also a proximate

cause and/or a producing cause of injuries and damages to Plaintiffs.

                       VII. Vicarious Liability & Respondeat Superior

19.     Defendants are vicariously liable for the acts and omissions of their agents,

servants and/or employees, who were employed by, or in an agency or contractual

relationship with the above-named Defendants at all times material hereto, and Plaintiffs

hereby invoke the doctrines of agency, ostensible agency, and/or agency by estoppel


Plaintiff’s Original Complaint                                                              5
       Case 3:22-cv-00021 Document 1 Filed on 01/19/22 in TXSD Page 6 of 9



with respect to that relationship, as those doctrines are understood and employed under

Texas law.

20.     The agents, servants and/or employees responsible were employed by

Defendants and were working within the course and scope of their employment with the

above-named Defendants at the time and on the occasion in question. Accordingly,

Defendants are legally liable for the negligent acts or their agents, servants and/or

employees.

                                          VIII. Damages

A.      Damages - Compensatory

21.     As a result of the negligence of the Defendants, Plaintiff, JOHNIE BARTON,

suffered severe and disabling physical injuries to his body requiring surgery and

extensive medical treatment.

22.     Specifically, but not in limitation, Plaintiff, JOHNIE BARTON, has suffered and

continues to suffer damages in many respects, including but not limited to the following:

            a. Reasonable medical expenses in the past and future;

            b. Physical pain and suffering in the past and future;

            c. Mental anguish in the past and future;

            d. Physical impairment in the past and future;

            e. Physical disability in the past and future;

            f. Physical disfigurement in the past and future;

            g. Wage loss in the past and future; and,

            h. Diminished earning capacity in the past and future.




Plaintiff’s Original Complaint                                                         6
       Case 3:22-cv-00021 Document 1 Filed on 01/19/22 in TXSD Page 7 of 9



B.      Exemplary & Punitive Damages

23.     Plaintiffs JOHNIE BARTON and JANICE BARTON further seek exemplary or

punitive damages in a sum sufficient to deter other similar Defendants from engaging in

the same or similar conduct or omissions as committed by Defendants.

24.     Plaintiffs believe that exemplary damages should be awarded as a penalty or by

way of punishment in an appropriate amount to make Defendants appreciate the gravity

of their actions.

                                    IX. Loss of Consortium

25.     Plaintiff, JOHNIE BARTON and Plaintiff, JANICE BARTON, were married at the

time of the incident made the basis of this lawsuit. Although Janice Barton did not suffer

physical injury, she has experienced a loss of consortium in her relationship with her

husband, as that term is understood in law. Further, she has experienced and will, in all

reasonable probability, suffer a loss of household services provided by her spouse.

                                 X. Claims for Relief Statement

26.     The amount of Plaintiffs’ damages is substantial and well in excess of the

jurisdictional limits of this Court. Many of the elements of Plaintiffs’ damages, including

past and pain and suffering, past and future mental anguish, past and future physical

impartment, and future lost earning capacity, cannot be determined with mathematical

precision. Furthermore, the determination of many of these elements of damages are

particularly within the province of the jury. Accordingly, Plaintiffs do not, at this time,

seek any certain amount of damages for any of these particular elements of damages, but

would instead rely upon the collective wisdom of the jury to determine an amount that

would fairly and reasonably compensate them.




Plaintiff’s Original Complaint                                                            7
       Case 3:22-cv-00021 Document 1 Filed on 01/19/22 in TXSD Page 8 of 9



27.     Plaintiffs provide that they seek monetary relief of over $1,000,000.00. However,

Plaintiffs reserve the right to file an amended pleading on this issue should subsequent

evidence show this figure to be either too high or too low.

                                 XI. Demand for Jury Trial

28.     Plaintiffs hereby request a jury trial and tenders the appropriate fee with the filing

of this petition.

                                            XII. Prayer

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that Defendants,

AMERICAN PETROLEUM TANKERS, LLC, INTREPID SHIP MANAGEMENT, INC.

and INTREPID PERSONNEL & PROVISIONING, INC., be cited in terms of law to

appear and answer herein, and that upon final hearing hereon, for judgment of and

against Defendants in an amount in excess of the minimum jurisdictional limits of this

Court; pre-judgment interest and post-judgment interest as allowed by law; for

exemplary and punitive damages, for costs of court, and for such other and further relief,

both general and special, at law or in equity, to which Plaintiffs may show themselves

justly entitled.


                                                   Respectfully Submitted,




Plaintiff’s Original Complaint                                                              8
       Case 3:22-cv-00021 Document 1 Filed on 01/19/22 in TXSD Page 9 of 9



                                           APFFEL LEGAL, PLLC




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Plaintiff’s Original Complaint                                                 9
